Case 09-31703-KRH           Doc 228      Filed 05/21/09 Entered 05/21/09 10:43:22                      Desc Main
                                        Document      Page 1 of 5


 Dion W. Hayes (VSB No. 34304)
 Patrick L. Hayden (VSB No. 30351)
 McGUIREWOODS LLP
 One James Center
 901 East Cary Street
 Richmond, Virginia 23219-4030
 (804) 775-1000

 Attorneys for the Debtors and
 Debtors in Possession



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

 ---------------------------------x
 In re:                                  :         Chapter 11
                                         :
 Greenbrier Hotel Corporation, et al.,   :         Case No. 09-31703 (KRH)
                                         :
                       Debtors.        : Jointly Administered
 ---------------------------------x

                   ORDER DISMISSING DEBTORS’ BANKRUPTCY CASES

        Upon the motion (the “Motion”)1 of the Debtors for entry of an order, under Sections

 305(a)(1) and 1112(b)(1) of the U.S. Bankruptcy Code, 11 U.S.C. Section 101 et seq. (the

 “Bankruptcy Code”), and Bankruptcy Rules 1017, 2002(a)(4) and 9006(c)(1), dismissing the

 above-captioned Debtors’ bankruptcy cases (the “Bankruptcy Cases”) and shortening notice for the

 May 19, 2009 hearing on the Motion (the “Hearing”); and this Court having fully considered the

 record before it at the Hearing; and after due deliberation thereon,

        IT IS HEREBY FOUND AND DETERMINED that:




 1
         Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
Case 09-31703-KRH            Doc 228      Filed 05/21/09 Entered 05/21/09 10:43:22               Desc Main
                                         Document      Page 2 of 5


         A.             Good and sufficient notice of the Motion and the Hearing was provided to all

 parties in interest, and no other or further notice is necessary or warranted under the circumstances.

 Cause exists to shorten the notice and objection period for the Hearing on the Motion.

         B.             No party has filed an objection to the Motion.

         C.             The Bankruptcy Cases no longer serve any necessary restructuring or

 reorganizational purpose, and requiring the Debtors to exit bankruptcy through confirmation of a

 chapter 11 plan would not provide any meaningful benefits to the Debtors, their creditors, or other

 parties in interest.

         D.             The expense and burden of the continued operation of the Debtors under the

 jurisdiction of this Court substantially outweigh any benefits that continued exercise of bankruptcy

 jurisdiction could provide to the Debtors, their creditors, and other parties in interest.

         E.             The Debtors’ creditors and other parties in interest are adequately protected by

 applicable nonbankruptcy law and other available forums, particularly in light of the Debtors’

 ability and expressed willingness to satisfy the Debtors’ existing obligations in the ordinary course

 of business, or at such time as the obligations become liquidated and undisputed.

         F.             The Debtors, their creditors, and other parties in interests will be best served by

 dismissal of the Bankruptcy Cases in accordance with Bankruptcy Code Section 305(a)(1).

         G.             Good and sufficient cause also exists for dismissal of the Bankruptcy Cases

 pursuant to Bankruptcy Code Section 1112(b)(1).

 THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

         1.                The Motion is GRANTED.

         2.                Pursuant to Bankruptcy Rule 9006(c)(1), the Debtors’ request to shorten the

 notice period for the Hearing on the Motion is hereby GRANTED.




                                                      -2-
Case 09-31703-KRH         Doc 228      Filed 05/21/09 Entered 05/21/09 10:43:22              Desc Main
                                      Document      Page 3 of 5


        3.              Pursuant to Bankruptcy Code Section 305(a)(1), the Bankruptcy Cases are

 hereby DISMISSED.

        4.              Pursuant to Bankruptcy Code Section 349(b)(3), all of the property of the

 Debtors’ estates is hereby revested in the entity in which such property was vested immediately

 before commencement of the Bankruptcy Cases.

        5.              The Debtors’ commencement of the Bankruptcy Cases shall not be deemed

 to have any effect on the Debtors’ contractual relationships existing immediately prior to the

 Petition Date.

        6.              All motions filed by any non-Debtor party pending in the Bankruptcy Cases

 as of the date hereof are hereby denied as moot. Any pleadings filed by the Debtors pending as of

 the date hereof are deemed withdrawn as moot.

        7.              Pursuant to the Letter Agreement dated May 15, 2009 between the Justice

 Family Group, LLC and Marriott Hotel Services, Inc., the Marriott Stalkinghorse APA is hereby

 terminated as of the date of this Order, with none of the parties thereto having any further rights,

 claims, or obligations thereunder, except that the Deposit (as defined in the Marriott Stalkinghorse

 APA) and all interest accrued thereon, shall be returned immediately to Marriott, and except as

 may have been otherwise specifically agreed to in writing by the parties.

        8.              The requirement under Local Bankruptcy Rule 9013-1(G) to file a

 memorandum of law in connection with the Motion is hereby waived.

        9.              Upon service by Kurtzman Carson Consultants LLC (“KCC”) of a copy of

 this Order upon the list of the Debtors’ creditors and parties in interest, the retention of KCC as

 claims, noticing, and balloting agent in the above-captioned bankruptcy cases is hereby terminated.

 KCC is directed to transmit to the Clerk’s office all proofs of claims and other materials received




                                                  -3-
Case 09-31703-KRH        Doc 228     Filed 05/21/09 Entered 05/21/09 10:43:22            Desc Main
                                    Document      Page 4 of 5


 or maintained by KCC in its capacity as claims, noticing, and balloting agent in these Bankruptcy

 Cases.


 Dated:   Richmond, Virginia                    /s/ Kevin R. Huennekens
          May __, 2009                         ____________________________________
                                               HON. KEVIN R. HUENNEKENS
          May 21 2009                          UNITED STATES BANKRUPTCY JUDGE


 WE ASK FOR THIS:
                                               Entered on Docket: May 21 2009
   /s/ Dion W. Hayes
 Dion W. Hayes (VSB No. 34304)
 Patrick L. Hayden (VSB No. 30351)
 McGUIREWOODS LLP
 One James Center
 901 East Cary Street
 Richmond, Virginia 23219-4030
 (804) 775-1000

 Attorneys for the Debtors and
 Debtors in Possession


 SEEN AND AGREED:


   /s/ Lawrence A. Katz
 Lawrence A. Katz (VSB No. 47664)
 VENABLE LLP
 8010 Towers Crescent Drive
 Suite 300
 Vienna, Virginia 22182-2707
 (703) 760-1600

 Attorneys for Marriott Hotel Services, Inc.




                                                -4-
Case 09-31703-KRH            Doc 228    Filed 05/21/09 Entered 05/21/09 10:43:22             Desc Main
                                       Document      Page 5 of 5


            CERTIFICATION OF ENDORSEMENT UNDER LOCAL RULE 9022-1(C)


            I hereby certify that the foregoing proposed order has been endorsed by all necessary
 parties.



                                                               /s/ Dion W. Hayes
                                                             Dion W. Hayes (VSB No. 34304)
                                                             McGUIREWOODS LLP
                                                             One James Center
                                                             901 East Cary Street
                                                             Richmond, Virginia 23219-4030
                                                             (804) 775-1000




                                                    -5-
